          Case 6:10-cr-00021-MJS Document 9 Filed 12/19/11 Page 1 of 2

     Susan St. .Vincent
1    Legal Officer
     NATIONAL PARK SERVICE
2    Law Enforcement Office
     P.O. Box 517
3    Yosemite, California   95389
     Telephone: (209) 372-0241
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7                          IN THE UNITED STATES DISTRICT COURT FOR THE

8                                   EASTERN DISTRICT OF CALIFORNIA

9
     UNITED STATES OF AMERICA,                     )       Docket 6:10-cr-00021-MJS
10                                                 )
                      Plaintiff,                   )       MOTION TO DISMISS;
11                                                 )       AND ORDER
                v.                                 )            THEREON
12                                                 )
     JOSEPH MENDOZA,                               )
13                                                 )
                      Defendant.                   )
14                                                 )

15

16           Pursuant to Rule 48 of the Federal Rules of Criminal Procedure, and by leave of Court

17   endorsed hereon, the United States hereby moves the Court for an order of dismissal without

18   prejudice in the interest of justice.

19           Dated: December 15, 2011                      NATIONAL PARK SERVICE

20
                                                            /S/ Susan St. Vincent
21
                                                           Susan St. Vincent
22                                                         Legal Officer

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          Case 6:10-cr-00021-MJS Document 9 Filed 12/19/11 Page 2 of 2

                                                  ORDER
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3             Upon application of the United States, and good cause having been shown therefor,

4    IT IS HEREBY ORDERED that the above referenced matter be dismissed, without prejudice, in the

5    interest of justice.

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9             IT IS SO ORDERED.

10   Dated:      December 19, 2011                    /s/ Michael J. Seng
     ci4d6                                              UNITED STATES MAGISTRATE JUDGE
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